      Case: 1:16-cv-10117 Document #: 17 Filed: 03/15/17 Page 1 of 2 PageID #:44




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


KIMBERLY DIANE MOHAMMAD,                              Case No. 1:16-cv-10117

Plaintiff,
                                                      Honorable Judge Harry D. Leinenweber
        v.

COMENITY BANK,

Defendant.

                                   NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that KIMBERLY DIANE MOHAMMAD (“Plaintiff”), hereby

notifies the Court that the Parties have settled all claims between them in this matter and are in

the process of completing the final closing documents and filing the dismissal. The Parties

anticipate this process to take no more than 60 days and request that the Court retain jurisdiction

for any matters related to completing and/or enforcing the settlement. The Parties propose to file

a stipulated dismissal with prejudice with 60 days of submission of this Notice of Settlement and

pray the Court to stay all proceedings until that time.



Respectfully submitted this 15th day of March, 2017.

                                                             Respectfully submitted,

                                                             s/ Nathan C. Volheim
                                                             Nathan C. Volheim
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     Case: 1:16-cv-10117 Document #: 17 Filed: 03/15/17 Page 2 of 2 PageID #:45




                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              s/ Nathan C. Volheim_____
                                                              Nathan C. Volheim




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